

People v Jones (2021 NY Slip Op 07067)





People v Jones


2021 NY Slip Op 07067


Decided on December 16, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 16, 2021

Before: Kapnick, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Ind No. 5229/13 Appeal No. 14870 Case No. 2018-03298 

[*1]The People of The State of New York, Respondent, 
vDahmir Jones, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Stephen Strother of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (David Gagne of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ann Scherzer, J.), rendered September 17, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 16, 2021
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








